           Case 1:21-cv-02131-CJN Document 33 Filed 04/20/22 Page 1 of 15




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


US DOMINION, INC., et al.,

              Plaintiffs,

      v.                                             Civil Action No. 1:21-cv-02131 (CJN)

PATRICK BYRNE,

              Defendant.


                                 MEMORANDUM OPINION

       US Dominion, Inc. and other related corporate entities allege that Patrick Byrne defamed

them in connection with the 2020 election. See generally Compl. (“Compl.”), ECF No. 1. Byrne

has moved to dismiss the Complaint, arguing among other things that Dominion has failed to plead

that he made provably false statements about the Plaintiffs; that Dominion has failed to plead that

he made his statements with actual malice; and that some of his statements are protected by the

fair report privilege and the Communications Decency Act. See generally Def.’s Mot. to Dismiss

(“Def.’s Mot.”), ECF No. 25. For the following reasons, the Court denies the Motion.

                                         I.     The Parties

       US Dominion, Inc., Dominion Voting Systems, Inc., and Dominion Voting Systems

Corporation are related corporate entities involved in the sale of electronic voting machines and

software in the United States. See Compl. ¶¶ 13–16; see also id. ¶ 29 (“Today, Dominion’s

business is organized as US Dominion, Inc., and its two wholly owned subsidiaries, Dominion

Voting Systems, Inc. and Dominion Voting Systems Corporation.”).            John Poulos founded

Dominion “out of his basement in Toronto,” Canada. See id. ¶ 25. Dominion has grown over the

years, and it now contracts with state and local governments throughout the United States to supply


                                                1
         Case 1:21-cv-02131-CJN Document 33 Filed 04/20/22 Page 2 of 15




voting systems and services in elections. Id. ¶¶ 25–30. Local election officials use Dominion’s

voting machines to tabulate votes and count paper ballots. Id. ¶ 31.

       Patrick Byrne is a resident of Utah. In 1999, Byrne became the Chief Executive Officer of

Overstock. Id.1 Starting in 2014, Byrne directed Overstock’s investments in several blockchain-

based companies, including some that focused on using blockchain technology in elections.

Id. ¶¶ 36–37. Byrne resigned from the role of CEO in 2019 after Overstock’s insurance carrier

issued an ultimatum: “it would not renew its policy as long as Byrne was in charge.” Id. ¶ 34.

Since then, Byrne has focused his attention on election integrity. Id. ¶ 41. Leading up to, during,

and after the 2020 election, Byrne made numerous statements and media appearances in which he

discussed Dominion’s voting systems and election fraud. See generally id.

                             II.    Factual & Procedural Background2

       This case centers around the American election held on November 3, 2020, as well as the

voting systems in place to count votes. See generally Compl. States employed a myriad of

procedures to handle early, same-day, and mail-in votes throughout the election cycle. The

different procedures resulted in no clear winner emerging from the presidential election on

Tuesday, November 3, 2020. Days later, several news outlets declared Joseph Biden victorious.

Those declarations did not end matters. Private citizens and public officials challenged, and local

officials audited, election results throughout the country.



1
 Byrne received his B.A. from Dartmouth College, his master’s degree as a Marshall Scholar from
Cambridge University, and his PhD from Stanford University. Id. ¶¶ 16, 33.
2
  The Court has previously resolved similar motions involving similar (though not identical)
factual backgrounds. See US Dominion, Inc. v. Powell, 554 F. Supp. 3d 42 (D.D.C. 2021), appeal
dismissed sub nom. US Dominion, Inc. v. My Pillow, Inc., No. 21-7103, 2022 WL 774080 (D.C.
Cir. Jan. 20, 2022).




                                                  2
         Case 1:21-cv-02131-CJN Document 33 Filed 04/20/22 Page 3 of 15




       In August 2021, Dominion filed this lawsuit against Byrne, claiming that he made

numerous statements actionable as defamation per se. See id. ¶ 161. The heart of Dominion’s

Complaint involves eighteen allegedly defamatory statements. See Compl. ¶ 153(a)–(r). The

statements vary in length, scope, and content. See id. Byrne made some of the statements during

interviews, while others appeared in print. See id. All involve allegedly false and defamatory

statements about Dominion and the company’s role in the 2020 election and elections more

broadly. See id.

       For example, Dominion alleges that on November 17, 2020, Byrne stated while on a

television show that the “election was hacked;” that he had “the data, the electronics, everything”

to prove it; and that “Dominion ran” the election. Id. ¶ 153(a). As another example (the second

in the Complaint), Dominion alleges that on November 18, 2020, Byrne claimed that the State of

Texas hired “Dominion Voting Systems” to study the “Dallas election in 2018,” which gave the

company “two years to deconstruct and reverse engineer how to hack an election.” Id. ¶ 153(b).

On November 24, 2020, Byrne claimed that the “election machinery, especially Dominion’s, is a

joke,” and that “the functionality built into these systems, especially Dominion’s, by now everyone

knows the story, that it was Hugo Chavez that wanted some election software built that he could

goon.” Id. ¶ 153(d). The sixth allegedly defamatory statement occurred on November 24, 2020,

when Byrne stated that Smartmatic’s software, which became Dominion’s software “after a series

of corporate mergers and acquisitions,” “was developed in Venezuela, by Hugo Chavez for him to

rig his elections.” Id. ¶ 153(f). And on February 5, 2021, Byrne published a blogpost claiming

that “Dominion” “paid for” a “shredding truck” to shred “3,000 pounds of ballots.” Id. ¶ 153(p).

Based on these and other allegedly false and defamatory statements, Dominion seeks




                                                3
         Case 1:21-cv-02131-CJN Document 33 Filed 04/20/22 Page 4 of 15




compensatory damages, lost profits, lost goodwill, security expenses, incurred expenses, punitive

damages, and pre- and post-judgment interest. See id. Prayer for Relief.

       Byrne has moved to dismiss. See generally Def.’s Mot. From Byrne’s perspective, the

allegations concern statements that, among other things, either: “(1) reflect fair and accurate

reporting of official government and judicial proceedings; (2) contain Byrne’s protected

commentary or opinions; . . . (3) are not actionable under applicable law; . . . or (4) relate to minor

details or do not even concern Dominion but rather other people or entities.” Id. at 25. In

particular, Byrne argues that his statements are not actionable because some of them are not false,

some constitute protected opinion, he did not make them with actual malice, and his alleged

defamatory statements receive protection under the fair report privilege and the Communications

Decency Act. Id. at 26, 29, 36, 37, 45.

                                        III.    Legal Standard

       Federal Rule of Civil Procedure 12(b)(6) requires dismissal of a complaint if it “fail[s] to

state a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). To survive a motion to

dismiss filed under Rule 12(b)(6), a plaintiff must plead “facts to state a claim of relief that is

plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). A court treats the

“complaint’s factual allegations as true and afford[s] the plaintiff the benefit of all inferences that

can be derived from the facts alleged.” Atlas Brew Works, LLC v. Barr, 391 F. Supp. 3d 6, 11

(D.D.C. 2019) (quotation omitted). Although the court accepts all well-pleaded facts in the

complaint as true, “[f]actual allegations must be enough to raise a right to relief above the

speculative level.” Twombly, 550 U.S. at 555. The claim to relief must be “plausible on its face,”

id., meaning that the plaintiff must have pleaded “factual content that allows the court to draw the




                                                  4
         Case 1:21-cv-02131-CJN Document 33 Filed 04/20/22 Page 5 of 15




reasonable inference that the defendant is liable for the misconduct alleged,” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009).

                                          IV.    Defamation

       State law establishes the elements of a defamation claim. See Devin G. Nunes v. WP

Company LLC, No. 20-7121, 2022 WL 997826, at *3 (D.C. Cir. Apr. 1, 2022). To state a claim

for defamation under District law, a plaintiff must “show that (1) the defendant made a false and

defamatory statement concerning the plaintiff; (2) the defendant published the statement without

privilege to a third party; (3) the defendant’s fault in publishing the statement [met the requisite

standard]; and (4) publication of the statement caused the plaintiff special harm or the statement

was actionable as a matter of law irrespective of special harm.” Robertson v. D.C., 269 A.3d 1022,

1031 (D.C. 2022).3 To state a claim for defamation per se, the plaintiff must show that the

defendant has falsely accused the plaintiff of particularly bad conduct, such as committing an

unlawful act, acquiring a repugnant disease, partaking in gross sexual misconduct, or engaging in

conduct “so likely to cause degrading injury to the subject’s reputation that proof of that harm is

not required to recover compensation.” Franklin v. Pepco Holdings, Inc. (PHI), 875 F. Supp. 2d

66, 75 (D.D.C. 2012); Couch v. Verizon Commc’ns, Inc., No. 20-2151 (RJL), 2021 WL 4476698,

at *5 (D.D.C. Sept. 30, 2021) (quotation omitted) (noting that not only do the same elements apply

to defamation claims and defamation per se claims, but also that the First Amendment overlay

applies to both).

       To facilitate debate over matters of public concern, the Supreme Court has “held that the

First Amendment protects, among other things, discussion about public officials and public



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 All Parties agree that District law applies to the defamation claims here. See Pls.’s Opp’n to
Def.’s Mot., ECF No. 28 at 14 n.4.



                                                 5
         Case 1:21-cv-02131-CJN Document 33 Filed 04/20/22 Page 6 of 15




figures.” Kahl v. Bureau of Nat’l Affs., Inc., 856 F.3d 106, 113 (D.C. Cir. 2017) (Kavanaugh, J.);

see Berisha v. Lawson, 141 S. Ct. 2424 (2021) (Thomas, J., dissenting from the denial of certiorari)

(questioning the actual malice standard). To prevail on a defamation claim, a public-official or

public-figure plaintiff must therefore also demonstrate that the defendant acted with “actual

malice.” New York Times Co. v. Sullivan, 376 U.S. 254, 267 (1964); see also Curtis Publishing

Co. v. Butts, 388 U.S. 130 (1967) (extending the actual malice standard from “public officials” in

government to “public figures” outside government); Gertz, 418 U.S. at 351 (applying the actual

malice standard to those who have achieved “pervasive fame or notoriety” and those “limited”

public figures who “voluntarily injec[t]” themselves or are “drawn into a particular public

controversy”). The actual malice standard requires proof that the defendant either knew that the

statement was false or recklessly disregarded whether it might be false. Kahl, 856 F.3d at 113

(quotation omitted). That standard “makes the speaker’s state of mind the constitutional gravamen

in any defamation case brought by a public figure or a public official.” Tah v. Glob. Witness

Publ’g, Inc., 991 F.3d 231, 245 (D.C. Cir. 2021) (Silberman, J., dissenting).

                                 A. Statements of Fact or Opinion

       An actionable statement must be false and defamatory. Rosen v. Am. Israel Pub. Affs.

Comm., Inc., 41 A.3d 1250, 1256 (D.C. 2012). A statement counts as defamatory “if it tends to

injure the plaintiff in his trade, profession or community standing, or lower him in the estimation

of the community.” Competitive Enter. Inst. v. Mann, 150 A.3d 1213, 1241 (D.C. 2016) (quotation

omitted). The statement “must be more than unpleasant or offensive; the language must make the

plaintiff appear odious, infamous, or ridiculous.” Id. (quotation omitted). The statement must also




                                                 6
         Case 1:21-cv-02131-CJN Document 33 Filed 04/20/22 Page 7 of 15




at least express or imply a verifiably false fact about the plaintiff. US Dominion, Inc., 554 F. Supp.

3d at 57 (citing Milkovich v. Lorain Journal Co., 497 U.S. 1, 19–20 (1990)).

       Expressions of pure opinion, unlike statements of false facts, receive constitutional

protection because “there is no such thing as a false idea.” Competitive Enter. Inst., 150 A.3d at

1241 (quoting Milkovich, 497 U.S. at 18). The context surrounding the statement helps illuminate

whether it qualifies as opinion or whether it implies a provably false statement of fact. See Sigal

Const. Corp. v. Stanbury, 586 A.2d 1204, 1210 (D.C. 1991) (“Thus, while certain words or phrases

may not, in themselves, imply facts, the statement will be actionable if, taken as a whole, it is

objectively verifiable.”). What’s more, a defendant’s statements “may not be actionable if the

defendant provides the facts underlying the challenged statements,” but only if “it is clear that the

challenged statements represent [the defendant’s] own interpretation of those facts, . . . leaving the

reader free to draw his own conclusions.’” US Dominion, Inc., 554 F. Supp. 3d at 58 (quotation

omitted). Where it turns out, however, that the disclosed defamatory facts undergirding an opinion

are themselves false, the defendant may be held liable. See TMJ Implants, Inc. v. Aetna, Inc., 498

F.3d 1175, 1185 (10th Cir. 2007) (noting that in such a scenario “it is the publication of the

defamatory facts, however, rather than the expression of opinion, that is actionable”).

       The question here is “whether a reasonable juror could conclude that [the defendant’s]

statements expressed or implied a verifiably false fact about Dominion.” US Dominion, Inc., 554

F. Supp. 3d at 58. As in the Court’s prior opinion involving claims brought by Dominion against

other defendants, see generally id., the question is not a close one. Take, as an example, Byrne’s

alleged statement that someone with a “Dominion Voting” credit card paid to shred “3,000 pounds

of ballots.” Compl. ¶ 153p. That either happened or it did not. Or consider Byrne’s alleged




                                                  7
         Case 1:21-cv-02131-CJN Document 33 Filed 04/20/22 Page 8 of 15




statement that Dominion “was developed in Venezuela, by Hugo Chavez for him to rig his

elections.” Id. ¶ 153(f). Again, that is either true or false.

        Dominion claims that Byrne made numerous additional defamatory statements. See

Compl. ¶ 153 (listing eighteen of Byrne’s allegedly defamatory statements touching on a variety

of claims about Dominion). Byrne contends that at least six of the eighteen alleged statements in

the Complaint do not contain provably false statements. See Def.’s Mot. at 37–39. The Court

need not parse those six statements, however, because the other alleged defamatory statements do

make provably false assertions. The standard is whether the Complaint states a claim for relief,

not whether each and every statement mentioned in the Complaint states a claim for relief.

        The same goes for Byrne’s argument that some of his statements qualify as protected

opinions because he disclosed the underlying “facts.” Def.’s Mot. at 39–41. Even if that might be

true as to some of his alleged statements, it is not true of several others. See Compl. ¶ 153(a)–(r).

In sum, Dominion has adequately alleged that Byrne made a number of statements that are

actionable because a reasonable juror could conclude that the statements were either statements of

fact or statements of opinion that implied or relied upon facts that are provably false. See US

Dominion, Inc., 554 F. Supp. 3d at 59.

                           B. Statements “of and concerning” Dominion

        A defendant’s alleged defamatory statement also must be “of and concerning” the plaintiff.

See Luhn v. Scott, No. 19-CV-1180 (DLF), 2019 WL 5810309, at *3 (D.D.C. Nov. 7, 2019). A

statement satisfies this requirement if it leads “the listener to conclude that the speaker is referring

to the plaintiff by description, even if the plaintiff is never named or is misnamed.” Deripaska v.

Associated Press, 282 F. Supp. 3d 133, 145 (D.D.C. 2017) (quotation omitted); Vasquez v. Whole




                                                   8
         Case 1:21-cv-02131-CJN Document 33 Filed 04/20/22 Page 9 of 15




Foods Mkt., Inc., 302 F. Supp. 3d 36, 64 (D.D.C. 2018) (noting that a “plaintiff can rely upon

extrinsic evidence to show that listeners understood the statements to pertain to the plaintiff”).

       Byrne argues that his allegedly defamatory statements were not of and concerning

Dominion. Several of Byrne’s allegedly defamatory statements, however, refer by name to

Dominion. Take, for instance, the sixteenth statement relied on by Dominion; Byrne published a

blogpost claiming that “Dominion” “paid for” a “shredding truck” to shred “3,000 pounds of

ballots.” Compl. ¶ 153(p). Consider, too, Byrne’s statement claiming that “Dominion” had “two

years to deconstruct and reverse engineer how to hack an election with Dominion Voting Systems”

after the State of Texas hired the company to study the 2018 Dallas election. Id. ¶ 153(b). In fact,

more than a dozen of the eighteen alleged defamatory statements reference Dominion expressly;

at the very least, a reasonable juror could decide that these statements referred to the company.

See generally id. ¶ 153. The Court concludes that the Complaint adequately alleges that Byrne

made defamatory statements that satisfy the “of and concerning” requirement as to Dominion.4

                                           C. Actual Malice

       A public official or figure “must demonstrate by clear and convincing evidence that the

defendant published the defamatory falsehood with actual malice, that is, with ‘knowledge that it

was false or with reckless disregard of whether it was false or not.’” Liberty Lobby, Inc. v. Dow

Jones & Co., 838 F.2d 1287, 1292 (D.C. Cir. 1988) (quoting New York Times v. Sullivan, 376 U.S.

254, 280 (1964)). A defendant has acted recklessly if “the defendant in fact entertained serious

doubts as to the truth of his publication” or acted “with a high degree of awareness of . . . probable


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  Byrne argues that three of the eighteen alleged statements in the Complaint are not defamatory
because they neither “expressly mention” Dominion, nor “lead the listener to conclude” that Byrne
is “referring” to Dominion. Def.’s Mot. at 30. Again, the Court need not parse those three
statements, because the other alleged defamatory statements do mention or reference Dominion.




                                                  9
        Case 1:21-cv-02131-CJN Document 33 Filed 04/20/22 Page 10 of 15




falsity.” Jankovic v. Int’l Crisis Grp., 822 F.3d 576, 589 (D.C. Cir. 2016) (quotation omitted).

Seldom will a defendant “confess his state of mind and thus allow the plaintiff to prove actual

malice with direct evidence.” Tah, 991 F.3d at 245 (Silberman, J., dissenting). Rather, “a plaintiff

may prove the defendant’s subjective state of mind through the cumulation of circumstantial

evidence.” Tavoulareas v. Piro, 817 F.2d 762, 789 (D.C. Cir. 1987). Examples of circumstantial

evidence that may support an inference of subjective recklessness include: “(1) evidence that

indicates the defendant fabricated the story, or (2) evidence that suggests the allegedly defamatory

statements are so inherently improbable that only a reckless man would have put them in

circulation, or (3) evidence that demonstrates that there are obvious reasons to doubt the veracity

of the informant or the accuracy of his reports.” Zimmerman v. Al Jazeera Am., LLC, 246 F. Supp.

3d 257, 281 (D.D.C. 2017) (quotation omitted). Because “proof of ‘actual malice’ calls a

defendant’s state of mind into question,” this element “does not readily lend itself to summary

disposition.” Hutchinson v. Proxmire, 443 U.S. 111, 120 n.9 (1979).

       Byrne argues that, even if his alleged statements were provably false and defamatory

statements about Dominion, Dominion has failed to allege that he made those statements with

actual malice. Dominion responds that the Complaint adequately pleads actual malice because

Byrne “(1) made inherently improbable claims about Dominion; (2) relied on facially unreliable

sources; (3) manufactured fake evidence to support a narrative he conceived before the election;

(4) knowingly disregarded widely publicized contradictory evidence; (5) has refused to retract his

demonstrably false statements; and (6) had a financial motive to make his false claims.” Pls.’s

Mot. at 17.

       The Court agrees that Dominion has adequately alleged actual malice. In other words,

Dominion has alleged facts that, if proven at trial, would demonstrate that Byrne harbored serious




                                                10
        Case 1:21-cv-02131-CJN Document 33 Filed 04/20/22 Page 11 of 15




doubts as to the truth of some of his allegedly defamatory statements. See Jankovic, 822 F.3d at

589 (quotation omitted).

       Consider Byrne’s alleged statement that Dominion’s election systems were developed in

Venezuela and used “strategically & aggressively” to “rig” the 2020 election, Compl. ¶ 153(e), the

alleged statement that Dominion machines used an “algorithm” to “weight one candidate greater

than another,” id. ¶ 153j; see also id. ¶¶ 153o, 153n, 153q., or the alleged statement that Dominion

“paid for” a “shredding truck” to shred “3,000 pounds of ballots,” id. ¶ 153(p). Accepting as true

all of Dominion’s allegations, a reasonable juror could find that at least some of Byrne’s

statements, including these, are so “inherently improbable that only a reckless man would believe”

them. US Dominion, Inc., 554 F. Supp. 3d at 63 (finding that a reasonable juror could find that

Michael Lindell’s statements, many of which resemble Byrne’s, were so “inherently improbable

that only a reckless man would believe” them).         Construing the various allegations in the

Complaint, considering the types of facts that can establish reckless disregard, and drawing all

inferences in Dominion’s favor, the Court concludes that a reasonable jury could find Byrne acted

with actual malice. See id. at 62.5

       One last note. Dominion assumes for purposes of this motion that the actual malice

standard applies because Byrne has argued that Dominion counts as a public official or as a public

figure. See Pls.’s Mot. at 15 n.5; Def.’s Mot. at 46; US Dominion, Inc., 554 F. Supp. 3d at 60 n.11.

The Court need not decide this question at this time. Discovery may bear additional fruit on this



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  As discussed above, the Court concludes that multiple (if not all) of the alleged defamatory
statements outlined in the Complaint state a claim for defamation under District law. At the very
least, though, the Court is satisfied that Byrne’s alleged blogpost claiming that “Dominion” “paid
for” a “shredding truck” to shred “3,000 pounds of ballots,” Compl. ¶ 153(p), states a plausible
defamation claim. Indeed, the Court unpacked that particular statement in each of the preceding
subsections.



                                                11
        Case 1:21-cv-02131-CJN Document 33 Filed 04/20/22 Page 12 of 15




question, which in turn will permit the Court to determine whether the actual malice standard or a

negligence standard applies. See Pls.’s Mot. at 15 n.5.

                                       D. Fair Report Privilege

       Byrne also claims that a portion of one of his allegedly defamatory statements is privileged

under District law. In particular, Byrne asserts that a hyperlink to an affidavit he shared should

receive protection under the so called “fair report privilege.” See Def.’s Mot. at 28.

       That privilege represents an exception “to the common law rule that one who repeats or

republishes a defamation uttered by another ‘adopts’ it as his own.” Myers v. D.C. Hous. Auth.,

No. 1:20-CV-00700-APM, 2021 WL 1167032, at *2 (D.D.C. Mar. 26, 2021) (quotation omitted).

The author of the allegedly defamatory statement must clear two hurdles for the privilege to attach.

See id. First, the statement must be a fair and accurate report of a qualified government source.

Boley v. Atl. Monthly Grp., 950 F. Supp. 2d 249, 257 (D.D.C. 2013). Second, it must be apparent

that the author attributed the statement to the government source. Jankovic v. Int’l Crisis Grp.,

593 F.3d 22, 26 (D.C. Cir. 2010). The privilege extends to “reports of judicial proceedings” as

well as court documents. Von Kahl v. Bureau of Nat. Affairs, Inc., 810 F. Supp. 2d 138, 144

(D.D.C. 2011); Boley v. Atl. Monthly Grp., 950 F. Supp. 2d 249, 258 (D.D.C. 2013). Where an

“author’s work is a fair and accurate representation of an official report, the work is privileged,

regardless of the veracity of the official report and even if the official documents contain erroneous

information.” Montgomery v. Risen, 197 F. Supp. 3d 219, 266 n.41 (D.D.C. 2016) (quotation

omitted).

       In a blogpost published in late November 2020, Byrne included a hyperlink to an affidavit

in which a person named Joshua Merritt supposedly provided evidence to support numerous claims

about election integrity and foreign interference in the American election. See Compl. ¶ 153(e).




                                                 12
        Case 1:21-cv-02131-CJN Document 33 Filed 04/20/22 Page 13 of 15




Byrne’s own assertions in the blogpost preceding the hyperlink include that “Smartmatic systems

were developed in Venezuela with built-in functionality permitting precinct administrators to

override security features it appeared to incorporate;” that Smartmatic became Dominion bringing

“to US elections not only the generous functionalities permitting manipulation by administrators,

but porous security, extending such powers to those abroad;” and that “Trump broke their

algorithm, because he was on his way to a win that exceeded their ability to overcome through

minor cheats alone.” See Compl. 153(e).

       The Court need not decide whether the linked affidavit itself receives protection under the

fair report privilege because Byrne’s own assertions preceding the hyperlink remain actionable.

The substance of the Merritt affidavit does not mention Venezuela, Hugo Chavez, or that Trump

broke Dominion’s algorithms. See Compl. ¶¶ 153(e), 77 n.159; Def.’s Reply in Support of the

Mot., ECF No. 31 at 25. Byrne made statements beyond the contents of the affidavit, which means

he did more than accurately report on a qualified government source.

                              E. The Communications Decency Act

       In his thirteenth allegedly defamatory statement, Byrne retweeted a story, which stated in

part that a Dominion voting machine had been hacked during the 2020 election.

See Compl. ¶ 153(m). Byrne himself made the following statements, which accompanied the

retweeted link: “I vouch for this. I have seen the photographs, the computer forensics, the IP

traces back to China. To a corporation whose name has long been linked to CP: Exam Indicates

Georgia Tabulating Machine Sent Results to China.” See Compl. ¶ 153(m). Byrne asserts that the

retweeted link, as well as his statements accompanying the link, should receive protection under

section 230 of the Communications Decency Act.




                                               13
        Case 1:21-cv-02131-CJN Document 33 Filed 04/20/22 Page 14 of 15




       The Communications Decency Act provides Internet platforms with immunity “against

causes of action of all kinds.” Marshall’s Locksmith Serv. Inc. v. Google, LLC, 925 F.3d 1263,

1267 (D.C. Cir. 2019); see 47 U.S.C. § 230(c). Section 230 contains two subsections that protect

computer-service providers from some civil and criminal claims. See Bennett v. Google, LLC, 882

F.3d 1163, 1165 (D.C. Cir. 2018). The first, and the one relevant here, states that “[n]o provider

or user of an interactive computer service shall be treated as the publisher or speaker of any

information provided by another information content provider.” 47 U.S.C. § 230(c)(1). That

provision “immunizes internet services for third-party content that they publish, including false

statements.” Marshall’s Locksmith Serv. Inc., 925 F.3d at 1267. The second subsection states that

“[n]o provider or user of an interactive computer service shall be held liable on account of . . . any

action voluntarily taken in good faith to restrict access to or availability of material that the

provider or user considers to be obscene, lewd, lascivious, filthy, excessively violent, harassing,

or otherwise objectionable.” 47 U.S.C. § 230(c)(2).

       A so-called “information content provider” does not enjoy immunity under § 230.

Klayman v. Zuckerberg, 753 F.3d 1354, 1356 (D.C. Cir. 2014). Any “person or entity that is

responsible, in whole or in part, for the creation or development of information provided through

the Internet or any other interactive computer service” qualifies as an “information content

provider.” 47 U.S.C. § 230(f)(3); Bennett, 882 F.3d at 1166 (noting a dividing line between service

and content in that ‘interactive computer service’ providers—which are generally eligible for CDA

section 230 immunity—and ‘information content provider[s],’ which are not entitled to

immunity”).

       While § 230 may provide immunity for someone who merely shares a link on Twitter,

Roca Labs, Inc. v. Consumer Opinion Corp., 140 F. Supp. 3d 1311, 1321 (M.D. Fla. 2015), it does




                                                 14
        Case 1:21-cv-02131-CJN Document 33 Filed 04/20/22 Page 15 of 15




not immunize someone for making additional remarks that are allegedly defamatory, see La

Liberte v. Reid, 966 F.3d 79, 89 (2d Cir. 2020). Here, Byrne stated that he “vouch[ed] for” the

evidence proving that Dominion had a connection to China. See Compl. ¶ 153(m). Byrne’s alleged

statements accompanying the retweet therefore fall outside the ambit of § 230 immunity.

                                         F. Conclusion

       For the foregoing reasons, Patrick Byrne’s motion to dismiss is DENIED. An Order will

be entered contemporaneously with this Memorandum Opinion.

DATE: April 20, 2022

                                                          CARL J. NICHOLS
                                                          United States District Judge




                                              15
